Filed 09/04/19                                                                Case 19-25590                                                                              Doc 6


                  Fill in this information to identify your case:

     Debtor 1                 Benjamin Francisco Gomez
                              First Name                        Middle Name                Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                Last Name

                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                              12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
            the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
              and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
             write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                    secures a debt?                                     as exempt on Schedule C?



        Creditor's         Bank of America N.A.                                Surrender the property.                                    No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a Reaffirmation        Yes
        Description of       3390 27th Ave, Sacramento, CA                       Agreement.
        property             95820-4720                                       Retain the property and [explain]:
        securing debt:                                                         Retain and pay

     Part 2:  List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
    the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
    may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?

     Lessor's name:                                                                                                                     No
     Description of leased
     Property:                                                                                                                          Yes

     Lessor's name:                                                                                                                     No
     Description of leased
     Property:                                                                                                                          Yes



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     Debtor 1      Gomez, Benjamin Francisco                                                            Case number (if known)



     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Ben Gomez                                                              X
           Benjamin Francisco Gomez                                                       Signature of Debtor 2
           Signature of Debtor 1

           Date        August 28, 2019                                                Date




    Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2

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